
ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent failed to properly safekeep funds belonging to his client. Respondent returned the funds and thereafter he and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Jarrett P. Ambeau, Louisiana Bar Roll number 32089, be and he hereby is suspended from the practice of law for one year. This suspension shall be deferred in its entirety, subject to respondent’s successful completion of a two-year period of unsupervised probation. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from' the date of finality of this court’s judgment until paid.
